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Clifford S. Davidson, OSB No. 125378
csdavidson@swlaw.com
Lea K. Schneider, OSB No. 145154
lschneider@swlaw.com
SNELL & WILMER L.L.P.
601 SW 2nd Ave, Suite 2000
Portland, Oregon 97204
Telephone: 503.624.6800
Facsimile: 503.624.6888

Attorneys for Defendant Omegle.com LLC


                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

A.M., an individual,
                                                  Case No. 3:21-CV-01674-MO
               Plaintiff,
                                                  DEFENDANT OMEGLE.COM LLC’S
vs.                                               MOTION FOR SUMMARY JUDGMENT OR
                                                  PARTIAL SUMMARY JUDGMENT
OMEGLE.COM LLC,

               Defendant.


                                  L.R. 7-1 CERTIFICATION

       Defendant certifies that the parties conferred by telephone and did not resolve this

motion.

                                            MOTION

       Defendant Omegle.com LLC hereby moves for summary judgment, or partial summary

judgment, as follows: (1) Michigan law applies to Plaintiff’s product liability claims and,

pursuant to Michigan law, (a) those claims are time-barred, (b) non-economic damages are

capped at $280,000, and (c) punitive damages are unavailable; and (2) the trafficking claim

should be dismissed. This motion is based on the following Memorandum, the Declarations of

Leif K-Brooks and Lea K. Schneider, the Court’s files, matters subject to judicial notice, and

                                                                                  Snell & Wilmer
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such further evidence or argument as Defendant might offer in reply or at any hearing on this

Motion.




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                                                 I.

                                       INTRODUCTION

       Omegle’s conduct as it relates to Plaintiff’s claims is limited to its random pairing, once,

of Plaintiff with Scott Fordyce (“Fordyce”) in 2014, when Plaintiff was a minor. During their

only communication on Omegle, Plaintiff exchanged written messages with Fordyce for

approximately fifteen minutes. Unfortunately, during that brief exchange of text only, Plaintiff

disclosed her contact information so that Fordyce could contact Plaintiff directly—something

Fordyce otherwise could not have done because Omegle users are anonymous. In the ensuing

years, and as Canadian prosecutors demonstrated, Fordyce obtained from Plaintiff illegal

photographs and videos of herself using platforms outside of Omegle. To Omegle’s knowledge,

Plaintiff has not pursued claims against either Fordyce or the Internet platforms through which

he demanded and received illegal materials.

       Again: Plaintiff did not use Omegle to send photographs or videos to Fordyce, nor did

Fordyce use Omegle to request them from Plaintiff. And Plaintiff did not use Omegle’s video

chat function with Fordyce.

       Plaintiff has framed her lawsuit as sounding in product liability and trafficking. Both such

theories fail. Regarding her product liability theory: even assuming for the sake of argument that

Plaintiff can establish Omegle is a product, Michigan product liability law governs under

Oregon choice-of-law principles. Applying Michigan law, Plaintiff’s product liability claim is

time-barred.1 Alternatively, under Michigan law and with respect to the product liability claim,

Plaintiff’s noneconomic damages are capped at $280,000 and punitive damages are unavailable.

       Further, Plaintiff’s trafficking claim under 18 U.S.C. § 1591 fails because there is no

evidence that Omegle recruited Plaintiff to engage in a commercial sex act; knew another user

would cause her to engage in a commercial sex act; or knowingly benefitted from knowing

participation in sex trafficking. Plaintiff aims to redirect the harm caused by Fordyce—and


1
 Omegle timely raised the Michigan statute of limitation as its Fifth Affirmative Defense. (ECF
76 at 12.)
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overlooked for years by her parents—at Omegle. However, even if Plaintiff’s allegations are

accepted as true and viewed in the most favorable light, for the limited purposes of this motion,

her claims against Omegle fail as a matter of law and should be dismissed.

                                                 II.

                            SUMMARY JUDGMENT STANDARD

         A party may move for summary judgment as to any claim or defense, or part of a claim

or defense. Fed. R. Civ. P. 56(a). “The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Id. As the moving party, Omegle “bears the initial responsibility of informing the

district court of the basis for its motion, and identifying those portions of the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

any, which it believes demonstrate the absence of a genuine issue of material fact.” Celotex

Corp. v Catrett, 477 U.S. 317, 323 (1986). Summary judgment is appropriate only if, taking the

evidence and all reasonable inferences drawn therefrom in the light most favorable to the non-

moving party, there are no genuine issues of material fact and the moving party is entitled to

judgment as a matter of law. Sierra Med. Servs. All. v. Kent, 883 F.3d 1216, 1222 (9th Cir.

2018).

                                                 III.

  THE COURT SHOULD DISMISS THE PRODUCT LIABILITY CLAIM, OR LIMIT

              DAMAGES THAT PLAINTIFF MAY RECOVER THROUGH IT.

         There is only one connection between Oregon and Plaintiff’s allegations: at the time of

Plaintiff’s alleged injury, Omegle’s founder resided in Oregon and formed Omegle as an Oregon

LLC. (Second Amended Complaint (“SAC”), ¶ 14; K-Brooks Decl., ¶ 3.) Other than that,

relevant events occurred elsewhere. Plaintiff was domiciled in Michigan when she accessed

Omegle for fifteen minutes and chatted with Fordyce. (SAC ¶¶ 39, 41.) Plaintiff was domiciled

in Michigan when Fordyce exploited her over the course of several years (on platforms other

than Omegle). (SAC, ¶ 56.) Omegle was not designed in Oregon; it was designed in Vermont.

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(K-Brooks Decl., ¶ 2.) Omegle’s servers have never been located in Oregon. (K-Brooks Decl., ¶

4.) If Plaintiff is suffering ongoing damages, they are not being suffered in Oregon. (See SAC ¶

13 [Plaintiff resides in New Zealand].)

       Moreover, the basic functionality of the text chat feature, which is what Plaintiff used to

communicate with Fordyce during her January 2014 visit to Omegle’s website, did not change

between 2009, when Mr. K-Brooks designed and launched Omegle, and January 2014, when she

accessed the website and was paired with Fordyce. (K-Brooks Decl., ¶ 4.)2 That is, assuming for

the sake of argument that Omegle is a “product,” it was not manufactured in Oregon in any

relevant respect.

       As set forth below, the Court should hold that (1) there are material differences between

Oregon and Michigan law such that there is a conflict of laws, and (2) pursuant to Oregon’s

choice-of-law principles, Michigan law governs Plaintiff’s product liability claims. Applying

Michigan law, the Court should dismiss Plaintiff’s product liability claims as time-barred.

Alternatively, the Court should hold, with respect to the product liability claims, that (1)

Plaintiff’s noneconomic damages are capped at $280,000, and (2) punitive damages are

unavailable.

A.     Oregon conflict-of-law/choice-of-law principles require application of Michigan

       product liability law in this case.

       1.      Michigan law and Oregon law conflict in material respects.

       This Court applies Oregon law, including Oregon choice-of-law/conflict-of-law

principles, to Plaintiff’s state law product liability claims. See Smith v. Ethicon, Inc., No. 3:20-

cv-00851-MO, 2022 WL 1799807, at *1 (D. Or. June 2, 2022). Pursuant to Oregon law, “[t]he

threshold question in a choice-of-law problem is whether the laws of the different states actually



2
  As of January 2014, a user visiting Omegle.com had the option to click “text” or “video” to be
randomly paired with another user. If the user selected text, the user’s browser would submit a
request to the Omegle server. The text request the would be processed by another Omegle server
to find someone who was available to be connected to the user. At no point have the servers been
located in Oregon. (K-Brooks, ¶ 4.)
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conflict.” Portfolio Recovery Assocs., LLC v. Sanders, 292 Or. App. 463, 467–68 (2018), aff'd,

366 Or. 355 (2020). Courts applying Oregon law have identified “material” conflicts in product

liability laws where, for example, relevant states cap or bar certain types of damages, or bar strict

liability. E.g., Smith, 2022 WL 1799807, at *1 (material conflict where New Jersey law capped

punitive damages); Peterson v. C R Bard Inc., No. 3:19-CV-01701-MO, 2021 WL 799305, at *1

(D. Or. Mar. 2, 2021) (material conflict where Pennsylvania law barred strict-liability product

claim).

          Likewise, a conflict of laws exists where, as here, states connected to the claims have

different statutes of limitation. Portfolio Recovery Assoc., 292 Or. App. at 468 (“[A] conflict in

the states’ statute of limitation period, such that the action would be barred by application of one

of the state’s statute of limitation, creates an actual conflict that must be resolved by applying

Oregon’s conflict-of-law principles.”)

          The laws of Michigan and Oregon materially conflict in respects relevant to Plaintiff’s

product liability claim, including statute of limitation. Those conflicts are summarized in the

following chart:




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                                      Oregon                               Michigan
Design Defect        Consumer expectation test.                   Risk-utility test.
Analysis
                     See ORS 30.920(1); Purdy v. Deere & Co., Claimant must demonstrate
                     311 Or. App. 244, 248 (2021), rev. denied a feasible alternative
                     sub nom., Purdy for Norton v. Deere & Co., design. See Gregory v.
                     369 Or. 110 (2021).
                                                                Cincinnati Inc., 538
                                                                N.W.2d 325, 333 (Mich.
                                                                1995); Sylvania v. Ford
                                                                Motor Co., 2008 Mich.
                                                                App. LEXIS 2071, *6-7
                                                                (Mich. App. Oct. 21,
                                                                2008); McWilliams et al.,
                                                                An Overview of the Legal
                                                                Standard Regarding
                                                                Product Liability Design
                                                                Defect Claims and A Fifty
                                                                State Survey on the
                                                                Applicable Law in Each
                                                                Jurisdiction, 82 Def.
                                                                Couns. J. 80, 88 (2015).

                                                                  A prima facie case for a
                                                                  design    defect     claim
                                                                  requires “data or other
                                                                  factual           evidence
                                                                  concerning”    both     the
                                                                  magnitude of the risks
                                                                  involved      and       the
                                                                  reasonableness of any
                                                                  proposed        alternative
                                                                  design. See Hammons v.
                                                                  Icon Health & Fitness, 616
                                                                  F. Supp. 2d 674, 679–80
                                                                  (E.D. Mich. 2009).

Liability Standard   Negligence, strict liability, warranty. See Negligence and implied
                     Mason v. Mt. St. Joseph, Inc., 226 Or. App. warranty.
                     392 (2009).
                                                                 “Michigan law recognizes
                                                                 two distinct causes of
                                                                 action for product failures,
                                                                 negligence and implied
                                                                 warranty. The theory of
                                                                 strict liability has not been
                                                                 directly endorsed by the
                                                                 Michigan Supreme Court.”
                                                                 20 Mich. Civ. Jur.
                                                                 Products Liability § 17.

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                                     Oregon                                Michigan

Failure to Warn    Plaintiff must establish not only that there    The duty of a manufacturer
Standard           was a failure to warn or failure to properly    to warn of a product’s
                   instruct, but also that doing so rendered the   danger only extends to
                   product unreasonably dangerous. Russell v.      material risks that are not
                   Deere & Co., 186 Or. App. 78, 83 (2003).        obvious to a reasonably
                                                                   prudent product user as
                                                                   well as material risks that
                                                                   are not, nor should be, a
                                                                   matter      of     common
                                                                   knowledge to persons in the
                                                                   same or a similar position
                                                                   as the plaintiff. Greene v.
                                                                   A.P. Products, Ltd., 475
                                                                   Mich. 502, 515 (Mich.
                                                                   2006).

Inadequate         Required to establish that [the alleged     To establish a prima facie
Warning Standard   inadequate warning] proximately caused      case of failure to warn, a
                   plaintiff’s injuries or damages.            product liability plaintiff
                                                               must show that the
                   Oregon courts have held that an inadequate defendant owed the
                   warning must be a substantial cause of the plaintiff a duty to warn of
                   person's injuries.” Parkinson v. Novartis   the danger; the defendant
                   Pharms. Corp., 5 F. Supp. 3d 1265, 1272     breached that duty; the
                   (D. Or. 2014) (internal citations omitted). defendant's breach was the
                                                               cause in fact and proximate
                                                               cause of the plaintiff's
                                                               harm; and the plaintiff
                                                               suffered damages as a
                                                               result.

                                                                   To prevail on a failure to
                                                                   warn claim, plaintiff must
                                                                   present evidence that the
                                                                   product would have been
                                                                   used differently had the
                                                                   suggested warnings been
                                                                   given. 11 Mich. Pl. & Pr. §
                                                                   81A:29 (2d ed.).




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                                           Oregon                               Michigan
Punitive Damages        Punitive damages are allowed without           Not permitted.
                        caps. ORS 30.925.
                                                                       “Punitive damages are
                                                                       generally not recoverable,
                                                                       except if they are expressly
                                                                       authorized by statute.” 7
                                                                       Mich. Civ. Jur. Damages §
                                                                       160, citing Casey v. Auto
                                                                       Owners Ins. Co., 273
                                                                       Mich. App. 388, 729
                                                                       N.W.2d 277 (2006).

Non-Economic            None, as applicable to this case.              Caps on noneconomic
Damages Caps                                                           damages not to exceed
                                                                       $280,000. See M.C.L. §
                                                                       600.2946a.

Fault Allocation        Modified comparative. See ORS 31.600.          Pure          comparative
                                                                       negligence. See M.C.L. §
                                                                       600.2959.

Statute of          2 years. See ORS 30.905.                           3 years. See M.C.L. §
Limitations/Tolling                                                    600.5805(13).
                    The statute of limitations is tolled until the
                    person is 18; however, it may not be               The statute is extended for
                    extended more than five years or until one         minors for a period of one
                    year after the person turns 18, whichever          year after the plaintiff turns
                    comes first. ORS 12.160.                           18. Doe v. Jayark Corp., 84
                                                                       F. Supp. 3d 609, 613–14
                                                                       (E.D. Mich. 2015).


       As demonstrated above, the laws of Oregon and Michigan conflict in material respects.

The differences affect the analyses related to liability, causation, damages, and statute of

limitation, which would lead to different outcomes. The Court therefore should engage in a

choice-of-law analysis pursuant to ORS 15.300-.460.

       2.      Oregon’s choice-of-law statutes require applying Michigan law to Plaintiff’s

               product liability claims.

       Accepting solely for the sake of argument Plaintiff’s assertion that the Omegle website is

a “product,” Plaintiff’s state-law claim is a “product liability civil action” within the meaning of


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ORS 30.900 because it is “a civil action brough against a manufacturer, distributor, seller or

lessor of a produce for damages for personal injury . . . arising out of (1) [a]ny design . . ,

manufacturing or other defect in a product; (2) [a]ny failure to warn regarding a product; or (3)

[a]ny failure to properly instruct in the use of a product.” (See SAC, ¶¶ 79-83, 86-99, 92-96, 98-

99.) Oregon’s product liability choice-of-law statute, ORS 15.435, therefore applies.

                a.      ORS 15.435(1) does not require application of Oregon product

                        liability law.

        Oregon has enacted a choice-of-law statute specific to product liability civil actions, ORS

15.435. Pursuant to ORS 15.435(1), the Court applies Oregon law to Plaintiff’s product liability

claim if:
                “(a) [she] was domiciled in Oregon and the injury occurred in
                Oregon; or

                (b) [she] was domiciled in Oregon or the injury occurred in Oregon
                and the product:

                        (A) Was manufactured or produced in Oregon; or
                        (B) Was delivered when new for use or consumption in
                            Oregon.”
None of these criteria is satisfied because Plaintiff has never been domiciled in Oregon,

Plaintiff’s injury occurred in Michigan (not Oregon), and to the extent Omegle was

“manufactured or produced,” that occurred in Vermont and not Oregon.

                b.      Because ORS 15.435(1) does not require applying Oregon law, the

                        Court applies ORS 15.445.

        If, as here, a plaintiff files a product liability civil action, and if, as here, ORS 15.435(1)

does not require applying Oregon law, then the Court looks to ORS 15.445, otherwise known as

the “general and residual approach” for determining choice of law. ORS 15.435(3) (“If a party

demonstrates that the application of the law of a state other than Oregon to a disputed issue is

substantially more appropriate under the principles of ORS 15.445, that issue shall be governed

by the law of the other state.”); ORS 15.435(4) (“All noncontractual claims or issues in product

liability civil actions not provided for or not disposed of under this section are governed by the


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law of the state determined under ORS 15.445.”)

               c.      Pursuant to ORS 15.445, Michigan law applies to Plaintiff’s product

                       liability claim.

       ORS 15.445 provides that disputed issues in noncontractual claims “are governed by the

law of the state whose contacts with the parties and the dispute and whose policies on the

disputed issues make application of the state’s law the most appropriate for those issues.” The

Court determines which law is most appropriate by:

       “(1) Identifying the states that have a relevant contact with the dispute, such as the
       place of the injurious conduct, the place of the resulting injury, the domicile,
       habitual residence or pertinent place of business of each person, or the place in
       which the relationship between the parties was centered;

       (2) Identifying the policies embodied in the laws of these states on the disputed
       issues; and

       (3) Evaluating the relative strength and pertinence of these policies with due regard
       to:

               (a) The policies of encouraging responsible conduct, deterring injurious
               conduct and providing adequate remedies for the conduct; and

               (b) The needs and policies of the interstate and international systems,
               including the policy of minimizing adverse effects on strongly held policies
               of other states.”
ORS 15.445(1)-(3); see Peterson, 2021 WL 799305 at *4 (“According to the Oregon Law

Commission, the court should choose the law of the state which, in light of its relationship to the

parties and the dispute—and its policies rendered pertinent by that relationship—would sustain

the most serious legal, social, economic, and other consequences of the choice-of-law-

decision.”).

       Undisputed record evidence demonstrates that the Court should apply Michigan law to

Plaintiff’s product liability claims. Plaintiff admits that, from 2014 through 2018, she was

domiciled in Michigan, paired with Fordyce while residing in Michigan (during the sole time she

used Omegle to communicate with him), and suffered injuries while domiciled in Michigan. (SAC,

¶¶ 39, 50 and 56). Thus, Michigan has the most significant relationship to the occurrence and the

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parties. See In re FCA USA LLC Monostable Electronic Gearshift Litigation, 598 F. Supp. 3d 639,

653 (E.D. Mich. 2022) (holding that the interest of the injury forum outweighed interest of

defendant’s home forum because, among other things, the product “was bought and used

exclusively there [in home forum] by the plaintiff”); accord Jilson v. Elrod, No. 21-cv-11878,

2022 WL 17683111, at *7 n.4 (E.D. Mich. Dec. 12, 2022); see also Banuelos Rios v. Ford Motor

Co., No. 05-0019 CO, 2006 WL 2950474, at *8 (D. Or. Oct. 16, 2006) (holding that the harm will

be felt principally in the state of plaintiff’s domicile and where the vehicle was purchased, garaged,

maintained, repaired and insured) (internal citations omitted); Rice v. United Parcel Serv. Gen.

Servs. Co., 43 F. Supp. 2d 1134, 1141 (D. Or. 1999) (holding Oregon did not have the most

significant relationship to the claims, as no Oregon drivers were before the court, none of the

plaintiffs were residents of Oregon, and plaintiffs were not injured while working in Oregon.); W.

Helicopter Servs., Inc. v. Rogerson Aircraft Corp., 728 F. Supp. 1506, 1512 (D. Or. 1990) (“[T]he

court gives greater weight to the state where the accident occurred rather than to any of the states

where the tortious behavior may have occurred.”).

       Further, Michigan law is appropriate here because Michigan has a significant interest in

“draw[ing] corporations to transact business in the state.” In re FCA USA, 598 F. Supp. 3d at 654

(citing Danziger v. Ford Motor Co., 402 F. Supp. 2d 236, 240 (D.D.C. 2005)).

       By contrast, Plaintiff has no relationship with Oregon and Omegle’s only relationship with

Oregon is its formation as an Oregon LLC. Omegle was created in Vermont in 2009 and its servers

were located in New York and/or New Jersey at the time of Plaintiff’s alleged injury in 2014. (K-

Brooks Decl., ¶ 4.) Omegle’s core chat function remained unchanged between Omegle’s creation

in Vermont and both its incorporation in Oregon and Plaintiff’s use of the site. (Id.) Incorporation

in Oregon alone is insufficient to create a significant relationship with the litigation when all other

factors point to another state. See Powell v. Equitable Sav. and Loan Ass'n, 57 Or. App. 110, 114

(1982) (“[T]he analysis is simple, because all of the pertinent considerations weigh on one side: .

. . the contracts were negotiated in Idaho, the individual plaintiffs in this portion of the class live

in Idaho, and the property involved is located in Idaho. Oregon's only significant relationship—if

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it can be said to be “significant” is that defendant was incorporated in Oregon. On the balance,

Idaho's interests do not merely preponderate—they dominate.”).

       Plaintiff used Omegle in Michigan and was harmed by Fordyce while domiciled in

Michigan. (SAC, ¶¶ 39-49.) Michigan’s interest dominates Oregon’s only relationship with

Omegle—the fact Omegle was incorporated in Oregon, after being created in Vermont and

operating as an LLP from Vermont between 2009-2010. (K-Brooks Decl., ¶¶ 2-3.) As a result,

under the Oregon choice-of-law analysis, Michigan product liability law is the most appropriate

under these circumstances—again, assuming solely for the sake of argument that Omegle is a

“product.”

B.     Plaintiff’s product liability claim is time-barred pursuant to Michigan law.

       Product liability actions in Michigan are subject to a three-year statute of limitation.

M.C.L. § 600.5805(12). If a plaintiff is a minor when her claim accrues, then the statute of

limitation is extended for one year after the plaintiff turns 18 “although the period of limitations

has run.” M.C.L. § 600.5851(1).3 Under Michigan law, a products liability claim accrues at the

time the wrong upon which the claim is based was done irrespective of when damage results.

Peter v. Stryker Orthopaedics, Inc., 581 F. Supp. 2d 813, 816 (E.D. Mich. 2008) (applying and

quoting M.C.L. § 600.5827). The common law discovery rule does not apply. Id. (citing

Trentadue v. Gorton, 479 Mich. 378, 389 (2007)).

       Plaintiff’s product liability claims are untimely. Plaintiff was born on January 8, 2002.

(Schneider Decl. ¶ 2.) Her product liability claims are based on her being matched with Fordyce

when she accessed Omegle as an 11-year-old in 2014. (SAC, ¶ 39; Schneider Decl. Ex. 1

[Interrog. Nos. 5 and 6].). That access must have occurred sometime between January 1 and 7,


3
  Michigan extends the statute of limitation for “an individual who, while a minor, is the victim
of criminal sexual conduct.” M.C.L. § 600.5805(6). Undersigned counsel has not located any
authority applying this extension to parties beyond the perpetrator of such conduct. Further, the
statute does not appear to apply to Plaintiff’s situation as the criminal statutes referenced in the
definition of “criminal sexual conduct” involve physical touching by the accused. See M.C.L. §
600.5805(16)(b).


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2014, otherwise she would have been 12 years old when she accessed Omegle.

       According to Plaintiff, the alleged wrong Omegle committed for purposes of her product

liability claim was designing a defective product, having inadequate safeguards, and failing to

warn. (SAC, ¶¶ 79-83, 86-99, 92-96, 98-99.) Plaintiff therefore suffered injury, so the products

claims accrued, no later than January 7, 2014. Thus, when she turned 18 on January 8, 2020, she

had an additional year, until January 8, 2021, to sue pursuant to M.C.L. § 600.5851(1).

       Because Plaintiff did not file her lawsuit until November 19, 2021, ten months after the

statutory deadline, her product liability claim is time-barred.4

C.     Plaintiff’s damages are capped at $280,000 pursuant to Michigan law.

       Plaintiff seeks “non-economic damages in the amount of $22,000,000.00” on “any of

Plaintiff’s claims for relief.” (SAC, p. 26 § 1.) However, in the product liability context,

Michigan caps non-economic damages at $280,000. M.C.L. § 600.2946a. The Court therefore

should hold that if Plaintiff establishes liability on her product liability claims, then non-

economic damages may not exceed $280,000.

D.     Pursuant to Michigan law, Plaintiff cannot recover punitive damages.

       Plaintiff also seeks “punitive damages for Plaintiff in an amount to be determined by the

jury.” (SAC, p. 26 § 3.) However, under Michigan law, punitive damages are unavailable unless

otherwise provided by statute. Gilbert v. DaimlerChrysler Corp., 470 Mich. 749, 765 (Mich.

2004). Because no statute provides for punitive damages in the product liability context, the

Court should hold that they are unavailable in this action. ) See Gregory v. Cincinnati Inc., 450

Mich. 1, 23 n.31 (Mich. 1995) (noting, in context of product liability action, that punitive

damages are not available).




4
 Plaintiff’s claim also would have been time-barred under Oregon law were it not for the
COVID emergency. The Oregon legislature tolled applicable statutes of limitation until 90 days
after the end of the declared COVID emergency, which spanned from March 8, 2020 to April 1,
2022.
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                                                IV.

              THE COURT SHOULD DISMISS THE TRAFFICKING CLAIM.

       Plaintiff’s trafficking claim under 18 U.S.C. §§ 1591, 1595 fails because there is no

evidence that Omegle recruited Plaintiff to engage in a commercial sex act; knew another user

would cause her to engage in a commercial sex act; or knowingly benefitted from knowing

participation in sex trafficking.

A.     Statutory background for civil liability under 18 U.S.C. §§ 1591 and 1595.

       Section 1591 of Title 18 criminalizes sex trafficking of children or adults by force, fraud,

or coercion. The statute criminalizes both direct trafficking, § 1591(a)(1), and benefiting from

participation in a venture that engaged in a direct violation, § 1591(a)(2). Section 1595 of Title

18 permits victims of federal sex trafficking to sue the perpetrator and those who knowingly

benefit from direct sex trafficking violations. 18 USC § 1595(a).

       Prior to 2018, interactive computer services (“ICS”) were immune from civil sex

trafficking claims arising from content created by third parties even if the ICS directly

participated in the alleged trafficking. That is because Section 230 of the Communications

Decency Act grants to ICS’s “robust” protection against liability arising from content created by

third parties unless the ICS is also a developer of the offending content. Does 1–6 v. Reddit,

Inc., 51 4th 1137 (9th Cir. 2022); Fair Housing Council of San Fernando Valley v.

Roommates.Com, LLC, 521 F.3d 1157, 1162–63 (9th Cir. 2008) (explaining that Section 230’s

grant of immunity does not apply to ICS that is also an “information content provider” of the

offending content).5

5
  Plaintiff has never contended that Section 230 immunity does not apply to her sex-trafficking
claim, only that FOSTA’s exemption to Section 230 immunity does. Thus, the portion of this
Court’s order on Omegle’s motion to dismiss addressing the sex-trafficking claim assumed that
Omegle enjoyed Section 230 immunity from this claim unless the exemption recognized in 47
USC § 230(c)(5) applies. ECF No. 70 at 4. Because Omegle is an ICS provider under the CDA
and Plaintiff’s sex-trafficking claim seeks to treat Omegle as a publisher or speaker of content
provided by Fordyce, Section 230 applies. See M.H. v. Omegle.com, LLC, 2022 WL 93575, *4–6
(M.D. Fla. Jan. 10, 2022), appeal filed, No. 22-10338 (Jan. 31, 2022) (Hernandez Covington, J.)
(explaining that Section 230 immunity applied to claims based on conduct by “cappers,” who
trick users into committing sexual acts over live web feeds while simultaneously recording the
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       In 2017, Congress enacted the Allow States and Victims to Fight Online Sex Trafficking

Act of 2017 (“FOSTA”). FOSTA largely was a response to repeated court holdings that Section

230 shielded the online marketplace from both state criminal prosecution and civil suits even if

the site actively participated in sex trafficking. See Doe v. Backpage, 817 F.3d 12, 21 (1st Cir.

2016) (“even if we assume, for argument’s sake, that Backpage’s conduct amounts to

‘participation in a [sex trafficking] venture,” Section 230 would still provide immunity); Emily J.

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(summarizing backlash from Backpage litigation); Does 1–6 v. Reddit, Inc., 51 F. 4th 1137, 1137

(9th Cir. 2022) (describing legislative backdrop to FOSTA).

       FOSTA made two statutory changes relevant here. First, FOSTA established that Section

230 does not bar a civil claim or state criminal prosecution “if the conduct underlying the claim

[or the charge] constitutes a violation of section 1591,” the federal criminal sex-trafficking

statute. 47 USC § 230(c)(5). Second, FOSTA defined “participation in a venture” under the

federal criminal sex-trafficking statute to mean “knowingly assisting, supporting, or facilitating a

violation” of Section 1591(a)(1). 18 USC § 1591(e)(4).

       In the years after FOSTA—and when this case was filed—courts were split as to whether

a civil plaintiff suing an ICS for beneficiary liability under Section 1595 had to satisfy the more

stringent requirements for criminal beneficiary liability under Section 1591(a)(2). In Does 1-6 v.

Reddit, Inc., the Ninth Circuit held that the ICS must have itself violated Section 1591 for

FOSTA’s exemption to apply. 51 F. 4th at 1142.

       The Reddit Court stressed: “In a sex trafficking beneficiary suit against a defendant-

website, the most important component is the defendant website’s own conduct—its

‘participation in the venture.’” Id. at 1152 (emphasis added). Because the “gravamen of a section

1595 beneficiary claim is the defendant’s participation in and benefit from the trafficking

scheme,” a “defendant-website’s own conduct must underlie the claim” and “must violate 18


encounters, because such claims sought to redirect liability onto Omegle for the ultimate actions
of its users).
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USC § 1591 for the immunity exception to apply.” Id. at 1143 (cleaned up). The Reddit Court

reasoned that the civil immunity exception was enacted with the new criminal immunity

exceptions, which further supported a construction under which an ICS could be prosecuted or

sued only for its own actions. Id. (“[W]e presume these provisions authorize criminal

prosecutions only for a defendant’s own crimes. Because section 230(e)(5)(A) uses the same

language, we read it to include the same limitation.”).

       In the months since, the Ninth Circuit has applied Reddit in only unpublished

dispositions. In J.B. v. Craigslist, Inc., the panel explained that Reddit confirmed that FOSTA’s

immunity exception applies “if, but only if, the defendant’s conduct amounts to a violation of”

Section 1591. 2023 WL 3220913 (9th Cir. May 3, 2023). In Doe #1 v. Twitter, which was

published after this Court’s ruling on the motion to dismiss, the same panel reiterated that

beneficiary liability requires “a more active degree of ‘participation in the venture’ than a

‘continuous business relationship’ between a platform and its users.” 2023 WL 3220912, *2 (9th

Cir. May 3, 2023). As to the plaintiff’s direct liability claim, the Twitter panel affirmed the

district court’s conclusion that the plaintiffs failed to state a claim because they did not allege

that Twitter “‘provided,’ ‘obtained,’ or ‘maintained,’ a person” as “Twitter’s alleged conduct

relate[d] only to CSAM [Child Sexual Abuse Material] depicting Plaintiffs, not to their persons

(as required to implicate a direct violation of the [Section 1591]).” Id. (emphasis in original).6

B.     Plaintiff’s Section 1595 claim fails under either a direct or beneficiary liability

       theory.

       To be liable under Section 1595, Plaintiff must prove conduct by Omegle that itself

violates Section 1591. Reddit, Inc., 51 F. 4th at 1142. There is no evidence that Omegle solicited

6
  The panel noted that the Supreme Court then had two cases before it that might affect the
Court’s holding in Reddit. 2023 WL 3220912, *2. Gonzalez v. Google, LLC and Twitter, Inc. v.
Taamneh, have since been decided but involved aiding and abetting liability under 18 USC §
2333(d)(2), which imposes civil liability “on any person who aids and abets, by knowingly
providing substantial assistance, or who conspires with the person who committed such an act of
international terrorism.” Because the cases turned on interpretation of Section 2333(d)(2), neither
directly affected the Ninth Circuit’s decision in Reddit. Twitter v. Taamneh, 143 S.Ct. 1206,
1214 (2023).
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Plaintiff to engage in a commercial sex act, knew (or recklessly disregarded) that she would be

caused to engage in commercial sex acts, and did not knowingly assist, support, or facilitate

Fordyce in committing any direct violation against Plaintiff. Because she lacks evidence that

Omegle either committed a direct violation of Section 1591(a)(1) or that Omegle participated in

such a venture under Section 1591(a)(2), she cannot prevail on her Section 1595 claim under

either a direct or beneficiary liability theory and Omegle is entitled to summary judgment.

       1.      Omegle did not commit federal sex trafficking under Section 1591(a)(1), nor

               could a rational jury conclude that it did.

       To prove a violation of sex trafficking of children under Section 1591(a)(1), Plaintiff

must show: (1) Omegle knowingly recruited, enticed, harbored, transported, provided, obtained,

advertised, maintained, patronized, or solicited a person [Plaintiff] to engage in a commercial

sex act; and (2) Omegle knew or was in reckless disregard of the fact that the person [Plaintiff]

had not attained the age of 18 years and would be caused to engage in a commercial sex act. See

Ninth Circuit Model Criminal Jury Instruction 20.25.

       As the model criminal jury instruction makes clear, the relevant inquiry under the first

element is not whether Omegle knowingly recruited Plaintiff to use its website, but whether

Omegle recruited Plaintiff “to engage in a commercial sex act.” This is distinct from the second

element, under which Plaintiff must show that, at the time Omegle recruited her, it knew or

recklessly disregarded that she was under 18 and that she would be caused to engage in a

commercial sex act. Plaintiff has not alleged, and lacks evidence to show, that Omegle recruited

her to engage in a commercial sex act versus recruiting her to use its website, much less that

Omegle did so knowing or recklessly disregarding that she would be caused to so engage.

       To be sure, a conviction under Section 1591(a)(1) does not require specific intent. As the

Ninth Circuit explained in United States v. Brooks, “if a sex trafficker arranged for a minor

victim to be transported to a pimp in another state, the trafficker might know that the victim

would be caused to engage in a commercial sex act without actually having any specific intent

that the victim do so. In that case, the sex trafficker could be convicted of violating § 1591(a) but

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not § 2423(a).”7 610 F.3d 1186 (9th Cir. 2010). However, the statue does require that the

defendant knowingly recruit the victim for prostitution and that he know the prohibited

prostitution (either by force fraud or coercion or with a person under 18) is sufficiently likely to

occur, though it need not ultimately come to pass, and the defendant need not directly participate

in or cause it if it does. These requirements make particular sense and provide an appropriate

backstop for criminal liability when viewed alongside what the government need not prove yet

still obtain a conviction. They are also understandable when considered in context of the stiff

criminal penalties upon conviction. See 18 USC § 1595(b) (providing mandatory minimum

sentences of ten to fifteen years in prison and a maximum sentence of life).

       In United States v. Todd, the Ninth Circuit explained that the defendant must “know in

the sense of being aware of an established modus operandi that will in the future cause a person

to engage in prostitution.” 627 F.3d 329, 334 (9th Cir. 2010) (en banc). Put differently, “[t]he

knowledge required of the defendant is such that if things go as he has planned,” the victim will

be caused “to engage in a commercial sex transaction.” Id.8 Thus, not only must the defendant

knowingly recruit the victim to engage in a commercial sex act, but it must be sufficiently

predictable that the victim will be caused to so engage. United States v. Wearing, 865 F.3d 553,

556 (7th Cir. 2017) (explaining that the phrase knowing the person will be caused to engage in a

commercial sex act “describes the acts that the defendant intends to take—that is, that he means

to cause’ the minor to engage in commercial sex acts. That is the interpretation other circuits

have adopted; they have concluded that the statute uses the future tense to describe the

defendant’s plan for the victim at the time he recruits her”). The record is devoid of evidence that


7
  18 USC § 2423 creates a trio of offenses for transportation of minors: (a) transportation with
intent to engage in criminal sexual activity; (b) travel with intent to engage in illicit sexual
conduct; (c) engaging in illicit sexual conduct in foreign places.
8
 Although Todd and Brooks were decided under a prior version of § 1591, subsequent
amendments have not undermined their rationale. United States v. Hung, 2019 WL 5862393, at
*11 n. 4 (E.D. Cal. Nov. 8, 2019) (acknowledging that Todd was decided pursuant to pre-2008
version of § 1591 but noting that subsequent amendments have only strengthened and not
undermined its rationale).
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Omegle either knowingly recruited Plaintiff to engage in a commercial sex act or that it knew (or

recklessly disregarded) another user would cause her to engage in a commercial sex act.

       But Even if Omegle knowingly recruited Plaintiff to make and transmit child-

pornographic images knowing that another user would cause her to do so (it did not), summary

judgment would be required because (1) Omegle’s alleged conduct relates only to CSAM

depicting Plaintiff (sent through another platform that is not party to this lawsuit), not to her

person; and (2) there is no evidence that Omegle knew or intended such CSAM (exchanged with

Fordyce on a different platform) to be commercial in nature. Section 1591(a)(1) prohibits

recruiting, enticing, etc., “a person” to engage in “a commercial sex act,” meaning “any sex act,

on account of which anything of value is given to or received by any person.” 18 USC §

1591(e)(3) (emphasis added).

       Although child pornography is abhorrent, federal law treats it differently than trafficking.

See 18 USC §§ 2251, 2252 (criminalizing sexual exploitation of minors i.e., production, receipt,

and distribution of child pornography); 18 USC § 2423(a) (defining criminal sexual activity); 18

USC § 2423(b) and (c) (distinguishing between a commercial sex act as defined in Section 1591

and production of child pornography). These offenses are not interchangeable under FOSTA.

Indeed, Congress considered including child-pornography offenses in FOSTA’s exemption but

ultimately limited the exception to sex trafficking of persons. Reddit, Inc., 51 F. 4th at 1144 (“As

first introduced in the House, FOSTA simply stated that section 230 did not ‘impair the

enforcement of, or limit availability of victim restitution or civil remedies under … civil laws

relating to sexual exploitation of children or sex trafficking”) (emphasis added); J.B. v G6 Hosp.,

LLC, 2021 WL 4079207, *8 (N.D. Cal. Sept. 8, 2021) (Gilliam, Jr., J.) (explaining that, as

originally enacted, FOSTA exempted from § 230 immunity causes of action or other civil

remedies to victims of sexual exploitation of children as well as sex-trafficking offenses).

       As in Twitter, Omegle’s “alleged conduct relates only to CSAM depicting Plaintiff[], not

to [her] person[]” and is thus insufficient to implicate a direct sex-trafficking violation. Twitter,

2023 WL 3220912, *2. Further, even if conduct relating only to CSAM could constitute sex

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trafficking, and even if Plaintiff had actually sent CSAM to Fordyce using the Omegle platform

(again, she did not), there is no evidence that Omegle knew or intended any such sex acts to be

commercial in nature. Thus, even if Omegle had knowingly recruited Plaintiff to make and

transmit child-pornographic images knowing that another user would cause her to do so (it did

not), this is not sex trafficking under Section 1591(a)(1).

       In sum, the Section 1595 claim fails as a matter of law because Plaintiff lacks evidence to

support either element for a direct violation of Section 1591(a)(1).

       2.      Omegle did not knowingly benefit from knowingly participating in child sex

               trafficking and so did not violate Section 1591(a)(2).

       To prevail under a beneficiary liability theory, Plaintiff must show that Omegle (1)

benefitted financially or by receiving anything of value from knowingly participating in a

venture that recruited, enticed, harbored, transported, provided, obtained, advertised, maintained,

patronized, or solicited her to engage in a commercial sex act and (2) knew or was in reckless

disregard of the fact that she had not attained the age of 18 years and would be caused to engage

in a commercial sex act. Ninth Circuit Model Criminal Jury Instruction 20.26. “Accordingly,

establishing criminal liability requires that a defendant knowingly benefit from knowingly

participating in child sex trafficking.” Reddit, 51 F. 4th at 1145.

       In Reddit, the plaintiffs alleged that they collectively contacted Reddit hundreds of times

to report sexually explicit images of themselves (or their children) on the site. Id. 1139. Reddit

would sometimes remove the content, only for it to be re-posted a short time later. According to

plaintiffs, Reddit did little to prevent or remove such unlawful content because it derived traffic

and substantial advertising revenue from subreddits featuring child pornography. Id. at 1139–40.

For that reason, Reddit did not implement even basic security measures to prevent the posting of

child pornography. Id. at 1140. The Reddit Court explained that these allegations suggested only

that Reddit “turned a blind eye to the unlawful content posted on its platform, not that it actively

participated in sex trafficking.” Id. at 1145. Moreover, the Reddit Court explained, plaintiffs

failed to allege “a connection between the pornography posted on Reddit and the revenue Reddit

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generates, other than the fact that Reddit makes money from advertising on all popular

subreddits.” Id. at 1145–46.

       Similar to the Reddit plaintiff, Plaintiff alleges that Omegle failed to take adequate safety

measures despite knowing that predators use its platform to sexually exploit minors because

Omegle is popular, and thus receives substantial advertising revenue, due to the sexual activity

on its site, some of which involves minors. Discovery has not supported these allegations.

Regardless, Reddit makes clear that such failing to take safety measures and receiving

advertising revenues—even where the ICS is aware of specific exploitative conduct involving

particular plaintiffs, which Omegle was not—is insufficient to show actual participation in a sex

trafficking venture.

       The cases cited in Reddit as illustrative further support that Omegle cannot be liable

under a beneficiary liability theory on our facts, even when viewed in the light most favorable to

Plaintiff In United States v. Afyare, 632 F. App’x 272, 28 (6th Cir. 2016), the court gave this

example: a defendant who joins a soccer team with some sex traffickers who sponsor the team

financially (i.e., pay for travel accommodations, uniforms, equipment, training, etc.) using the

money they generate from sex trafficking and the defendant knows that his teammate-sex-

trafficker-sponsors are engaged in sex trafficking would not be liable because “§ 1591(a)(2)

targets those who participate in sex trafficking; it does not target soccer players who turn a blind

eye to the source of their financial sponsorship.” 632 F. App’x at 286. By that same token,

Omegle cannot be liable under Section 1591(a)(2) even if it knowingly received advertising

money from the sex traffickers themselves (it did not).

       The Reddit Court’s citations to Noble v. Weinstein, 335 F.Supp.3d 504, 524 (S.D.N.Y.

2018) and Canosa v. Ziff, 2019 WL 498865 (S.D.N.Y. Jan. 28, 2019), both involving others’

liability for assaults perpetrated by Harvey Weinstein, are likewise instructive. Noble, an

aspiring actress, sued Harvey Weinstein’s brother and the co-founder of their production

company, Robert Weinstein, in relation to a 2014 assault by Harvey at the Cannes film festival.

The Noble Court explained that to hold Roger Weinstein liable as a beneficiary, “factual

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allegations implicating Robert as a participant in Harvey’s 2014 conduct toward Noble are

required.” 335 F. Supp. 3d at 524. It was not enough that Robert allegedly knew of, and

facilitated, settlement payments to other women or benefitted from his role at the production

company; what was missing were “factual allegations of participation that render[ed] a violation

of Section 1591(a)(2) by Robert plausible on its face.” Id. (emphasis added). Similarly, in

Canosa, the plaintiff-producer’s sex-trafficking claims were allowed to proceed against Harvey

Weinstein himself and against the Weinstein Company, but not against Robert. The sex-

trafficking claim against the Company survived because the plaintiff alleged “specific means and

methods used by multiple company employees to facilitate Weinstein’s sexual assaults and to

cover them up afterwards,” including entering into strict non-disclosure agreements with victims.

2019 WL 4988865, *23–24. Here, like Noble and unlike Canosa, Plaintiff has alleged that, at

most, Omegle generally knew of and facilitated sex trafficking on its website by failing to take

adequate safety precautions—not that it directly participated in her sex trafficking through

specific means and methods.

       Moreover, as in Reddit, there is no causal connection between conduct by Omegle in

furtherance of the sex-trafficking venture and Omegle’s receipt of advertising revenue or any

other benefit. The Reddit Court cited yet another case involving Weinstein, Geiss v. Weinstein

Company Holdings, LLC, to make this point. 383 F.Supp.3d 156 (S.D.N.Y. 2019). The Geiss

court explained that while the production-company defendants “undoubtedly benefited from H.

Weinstein’s continued employment at TWC” the “controlling question” was “whether H.

Weinstein provided any of those benefits to TWC because of TWC’s facilitation of H

Weinstein’s sexual misconduct.” 383 F.Supp.3d at 169–70 (emphasis added). Plaintiff does not

allege, nor is there any evidence, that Omegle received advertising funds or any other thing of

value “because of” Omegle’s facilitation of sex trafficking. Even if Omegle attracts users or

advertisers “because of the sexual activity they know occurs on the site,” that is not the same as

the receipt of a benefit because of its facilitation of sex trafficking of minors.

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         At bottom, this lawsuit seeks to do precisely what Section 230 forbids: hold Omegle

responsible for a user’s actions.9 FOSTA left Section 230’s broad immunity intact, opening the

door to liability against ICS providers only where their own conduct is a federal criminal sex-

trafficking violation. Plaintiff’s Section 1595 claim is one against Fordyce, not Omegle. To the

extent that Plaintiff’s inability to pursue Omegle leaves a goal of FOSTA unfulfilled, “this is a

flaw, or perhaps a feature, that Congress wrote into the statute, and is not one [that can be

rewritten] by judicial fiat” notwithstanding the terrible circumstances of this case. Reddit, 51 F.

4th at 1145.

                                                     V.

                                             CONCLUSION

         For the foregoing reasons, the Court should:

                 1. Hold that Michigan law applies to the product liability claims, and

                        a. Dismiss those claims with prejudice as time-barred; or

                        b. Hold that, in this case, non-economic damages are capped at $280,000,

                            and punitive damages are unavailable.

                 2. Dismiss the trafficking claim with prejudice.


         DATED this 20th day of July, 2023.

                                                       SNELL & WILMER L.L.P.

                                                        /s/ Clifford S. Davidson
                                                       Clifford S. Davidson, OSB No. 125378
                                                       csdavidson@swlaw.com
                                                       Lea K. Schneider, OSB No. 145154
                                                       lschneider@swlaw.com

                                                       Attorneys for Defendant Omegle.com LLC
4876-9092-0302




9
 Omegle timely raised Section 230 immunity as its Twelfth Affirmative Defense. (ECF 76 at
13.)
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